Case 6:13-cv-01243-CEM-DAB Document 46 Filed 04/02/14 Page 1 of 9 PageID 595



                             THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

AVIATION ONE OF FLORIDA, INC.,

               Plaintiff,
vs.
                                                                  CASE NO.: 6:13-cv-01243-
AIRBORNE INSURANCE CONSULTANTS                                              CEH-DAB
(PTY), LTD, AFRICA TOURS AND TRAVEL,
LLC D/B/A S.A. GUINEA AND MOHAMED
DIAOUNE,

               Defendants.                                 /

      DEFENDANT AIRBORNE INSURANCE CONSULTANTS (PTY), LTD’S MOTION
      FOR A STAY OF DISCOVERY AND INCORPORATED MEMORADUM OF LAW

         Pursuant to Federal Rule of Civil Procedure 26(c), Defendant AIRBORNE INSURANCE

CONSULTANTS (PTY), LTD respectfully moves this Court for the entry of an order staying all

discovery on the merits pending a ruling on Airborne’s Motion to Dismiss for Lack of Personal

Jurisdiction (“Motion to Dismiss”), Dkt. 34. Airborne’s Motion to Dismiss for lack of personal

jurisdiction is fatal to Plaintiff’s claims, and if granted, will dispose of Plaintiff’s case in its

entirety. A stay of discovery is necessary to promote judicial efficiency and eliminate undue

burden on the Court and the parties for discovery that may be obviated by the Court’s disposition

of the pending Motion to Dismiss. See, e.g., Jackson-Bear Grp., Inc. v. Amirjazil, No. 2:10-CV-

332-FTM-29, 2011 WL 720462 (M.D. Fla. Feb. 22, 2011) (granting stay of discovery pending

ruling on defendant’s motion to dismiss for lack of personal jurisdiction which argued that

neither specific personal jurisdiction nor general personal jurisdiction existed under Florida’s

Long Arm Statute). In support of this Motion, Airborne states:




                                                 1
Case 6:13-cv-01243-CEM-DAB Document 46 Filed 04/02/14 Page 2 of 9 PageID 596



                                         BACKGROUND

       This lawsuit is against a South African insurance broker for an alleged negligent failure

to procure the appropriate insurance coverage from a South African insurance company for an

aircraft that was based in South Africa. On February 20, 2014, Airborne filed its Motion to

Dismiss the Complaint in its entirety. In it, Airborne argued that this Court does not have

jurisdiction over Airborne under Florida’s long-arm statute because Airborne did not “commit a

tort” in Florida because any alleged negligent conduct occurred in South Africa; did not

“contract to insure” property or a risk in Florida (or any risk at all) because Airborne is not an

insurance company; nor did Airborne carry on a business venture in Florida or receive any

money from a Florida entity. Airborne also argued that, assuming long-arm jurisdiction exists,

asserting jurisdiction over Airborne would violate due process. Since filing this brief Airborne

learned that Plaintiff filed suit in South Africa against Guardrisk, the actual insurer, regarding the

aircraft insurance claim at issue in this lawsuit. Plaintiff confirmed that the South African

litigation is pending but has not provided any further details. Then, on March 17, Plaintiff filed a

Response in Opposition to Airborne’s Motion to Dismiss. Dkt. 39. On March 20, Airborne asked

for leave to file a Reply in order to address case law that is inapplicable to Plaintiff’s causes of

action and to address new arguments raised for the first time in the Reply. Dkt. 41. That motion

is pending.

       Then, on March 28, Plaintiff filed the Joint Case Management Report. Dkt. 43. In the

Report, Airborne requested a preliminary pretrial conference before entry of a Case Management

and Scheduling Order. One of the unresolved issues to be addressed at the conference was the

fact that Airborne had filed a dispositive Motion to Dismiss and that Airborne objected to any

discovery prior to a ruling on its Motion to Dismiss. In addition, in the Case Management Report

the mandatory initial disclosures are slated to be due on April 14, 2014. The discovery deadline
                                                  2
Case 6:13-cv-01243-CEM-DAB Document 46 Filed 04/02/14 Page 3 of 9 PageID 597



is not proposed to occur until June 1, 2015, with a proposed trial date of December 1, 2015. Id.

       The instant motion is necessary because the parties cannot reach concurrence as to

whether a temporary stay of discovery pending a ruling on Airborne’s Motion to Dismiss is

warranted. Airborne’s Motion to Dismiss raises meritorious legal challenges to this Court’s

jurisdiction over Airborne that should be resolved as a matter of law before Airborne is burdened

by costly discovery. It is well within the discretion of the Court to temporarily stay discovery

pending resolution of Airborne’s Motion to Dismiss. Such a temporary stay would promote the

efficient use of the parties’ resources and would not prejudice Plaintiff.

                                  MEMORANDUM OF LAW

A.     Legal Standard

       Federal Rule of Civil Procedure 26(c) allows courts to issue protective orders from

discovery for “good cause” to protect a party from “annoyance . . . oppression, or undue burden

or expense.” Fed. R. Civ. P. 26(c). It is well-settled that a trial court has the power to stay

discovery while a motion to dismiss based on jurisdictional or other grounds is pending. See e.g.,

Kilma v. Carnival Corp., No. 08-20335-CIV, 2008 WL 4559231 (S.D. Fla. Oct. 10, 2008)

(staying discovery on the merits pending determination of motion to dismiss for lack of personal

jurisdiction); Jackson-Bear Grp., Inc. v. Amirjazil, No. 2:10-CV-332-FTM-29, 2011 WL 720462

(M.D. Fla. Feb. 22, 2011) (staying discovery on the merits pending resolution of a motion to

dismiss for lack of personal jurisdiction); Minton v. Jenkins, No. 5:10CV61/RH/EMT, 2011 WL

2038700 (N.D. Fla. May 24, 2011) (staying discovery on the merits pending a decision on a

motion to dismiss); McCabe v. Foley, 223 F.R.D. 683 (M.D. Fla. 2006) (staying discovery since

a “preliminary peek” at the motions to dismiss revealed that the defendants had raised

“meritorious challenges to the legal sufficiency” of the complaint); Nankivil v. Lockheed Martin

Corp., 216 F.R.D. 689, 692 (M.D. Fla. 2003) (staying discovery on the merits pending a ruling
                                                  3
Case 6:13-cv-01243-CEM-DAB Document 46 Filed 04/02/14 Page 4 of 9 PageID 598



on defendant’s motion to dismiss based on the statute of limitations).

       In Chudasama v. Mazda Motor Corp., the Eleventh Circuit concluded that discovery

should be stayed until resolution of the pending motion to dismiss. 123 F.3d 1353, 1367–68

(11th Cir. 1997). The court explained that discovery imposes many costs on the parties and can

tax scarce judicial resources when discovery disputes arise. Id. The Eleventh Circuit stressed in

no uncertain terms that:

       If the district court dismisses a non-meritorious claim before discovery has begun,
       unnecessary costs to the litigants and to the court system can be avoided.
       Conversely, delaying ruling on a motion to dismiss such a claim until after the
       parties complete discovery encourages abusive discovery and, if the court
       ultimately dismisses the claim, imposes unnecessary costs. For these reasons, any
       legally unsupported claim that would unduly enlarge the scope of discovery
       should be eliminated before the discovery stage, if possible. Allowing a case to
       proceed through the pretrial processes with an invalid claim that increases the
       costs of the case does nothing but waste the resources of the litigants in the action
       before the court, delay resolution of disputes between other litigants, squander
       scare judicial resources, and damage the integrity of the public’s perception of the
       federal judicial system.

Id. at 1368 (footnotes omitted). Likewise, in Moore v. Potter, the Eleventh Circuit reiterated that

“‘any legally unsupported claim that would unduly enlarge the scope of discovery should be

eliminated before the discovery stage, if possible.’” 141 Fed. App’x 803, 808 (11th Cir. 2005)

(finding no error in the district court’s imposition of a stay pending the resolution of a motion to

dismiss).

       In determining whether to stay discovery where a motion to dismiss is pending, courts

typically consider the need for discovery to rule on the pending motion, the harm to the non-

moving party resulting from a stay, and the legitimacy of the pending motion to dismiss

examined only with a “preliminary peek.” See Nankivil, 216 F.R.D. at 692; Moore v. Shands

Jacksonville Med. Ctr., No. 09-cv-298, 2009 WL 4899400, at * 1 (M.D. Fla. Dec. 11, 2009).

Here, as set forth more fully below, each of these factors strongly weighs in favor of staying

                                                 4
Case 6:13-cv-01243-CEM-DAB Document 46 Filed 04/02/14 Page 5 of 9 PageID 599



discovery pending the resolution of Airborne’s Motion to Dismiss.

B.     A Temporary Stay Will Avoid Unnecessary and Substantial Discovery Costs

       The Eleventh Circuit held in Chudasama that the Court has an obligation to manage and

limit discovery in order to avoid unnecessary discovery costs, and recognized that such costs can

be quite expensive and burdensome. Chudasama, 123 F.3d at 1367–68. The Court stated:

       Discovery imposes several costs on the litigant from whom discovery is sought.
       These burdens include the time spent searching for and compiling relevant
       documents; the time, expense, and aggravation of preparing for and attending
       depositions; the costs of copying and shipping documents; and the attorneysl fees
       generated in interpreting discovery requests, drafting responses to interrogatories
       and coordinating responses to production requests, advising the client as to which
       documents should be disclosed and which ones withheld, and determining
       whether certain information is privileged.

Id. at 1367.

       Here, Defendant Airborne is a South African company with no offices in Florida, and

responding to discovery will be extremely costly and burdensome for Airborne. Airborne will

suffer undue hardship if it is required to engage in any discovery prior to a decision on the

pending Motion to Dismiss. For example, if Airborne were forced to respond to any Requests for

Production, it would require Airborne to expend time and money to retrieve and produce the

requested materials. The discovery related to this litigation is likely to be particularly

burdensome and costly for Airborne given the claims involved and the unique burden on foreign

citizens of defending a lawsuit abroad. A stay is further justified by the unique burden and

expenses placed on both parties when dealing with foreign entities defending a suit in the United

States. In particular, it will be difficult to depose any of Airborne’s current or former employees

as they all live in South Africa, and either or both of the parties will have to incur significant

costs of travel for their depositions. All of Airborne’s computer servers and paper documents are

likewise located in South Africa, and if discovery proceeds their production is expected to be

                                                5
Case 6:13-cv-01243-CEM-DAB Document 46 Filed 04/02/14 Page 6 of 9 PageID 600



quite detailed and costly. These significant burdens and expenses on Airborne, as well as

Plaintiff, can be avoided if the Court grants Airborne’s Motion to Dismiss. The unfair burdens

imposed upon Airborne in responding to any discovery, including the mandatory initial

disclosures, far outweigh any inconvenience to Plaintiff.1

C.      Airborne’s Motion to Dismiss Should Result in the Complete Disposition of the Case

        In deciding whether to stay discovery pending resolution of a motion to dismiss, the court

must balance the harm produced by a delay in discovery against the possibility that the motion

will be granted and entirely eliminate the need for such discovery. McCabe v. Foley, 233 F.R.D.

683, 685 (M.D. Fla. 2006). To this end, the court must take a “preliminary peek” at the merits of

the dispositive motion to see if it “appears to be clearly meritorious and truly case dispositive.”

Id. (internal quotation marks omitted).

        In this case, a “preliminary peek” shows that Airborne has raised meritorious challenges

to the Complaint. Specifically, in the Motion to Dismiss Airborne argues Plaintiff has failed to

establish a prima facie case of personal jurisdiction. Instead, what the facts show is that a South

African company had a relationship with a corporation based out of West Africa, to help procure

insurance from a South African insurer for an aircraft that was operating out of West Africa.

Plaintiff, the lone connection to Florida, was the passive owner of the aircraft and had no

relationship at all with Defendant Airborne except for limited contact following the insurer’s

denial of the claim. Airborne produced an affidavit from one of its directors that contradicted the

allegations of the Complaint and shows that personal jurisdiction over Airborne is improper. In

addition, even the exhibits attached to the Complaint prove that Florida jurisdiction is improper


1
 Airborne anticipates that Plaintiff may argue that discovery should not be stayed because the Complaint was filed
on August 14, 2013, and seven months have passed since then. Airborne, however, cannot be penalized for
Plaintiff’s failure to serve Airborne in a timely manner. Plaintiff did not serve Airborne until January 10, 2014.


                                                        6
Case 6:13-cv-01243-CEM-DAB Document 46 Filed 04/02/14 Page 7 of 9 PageID 601



because Airborne did not conduct a business venture in Florida nor commit a tort in Florida

given its very limited Florida contact, and conclusively show that Guardrisk, not Airborne,

“contracted to insure” within the meaning of the Long-Arm Statute. Moreover, Airborne argued

that even assuming that personal jurisdiction exists under Florida’s Long Arm Statute, personal

jurisdiction cannot be exercised because it would be in violation of the Due Process Clause of the

14th Amendment. In the interest of judicial economy, Airborne incorporates the arguments in its

Motion, which clearly show that there is no personal jurisdiction over Airborne. See Dkt. 34.

D.     Plaintiff Does Not Need Discovery to Respond to the Motion to Dismiss

       As noted, another factor considered in determining whether to stay discovery pending a

dispositive motion is whether the non-moving party needs discovery to respond to the motion.

See, e.g., Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1367 (11th Cir. 1997); Staup v.

Wachovia Bank, N.A., No. 08-60359CUV, 2008 WL 1771818, at *2 (S.D. Fla. Apr. 16, 2008)

(granting defendant’s motion for temporary stay of initial disclosures and discovery pending

determination of defendant’s motion to dismiss). In this case, any merits-based discovery is not

relevant as to whether there is personal jurisdiction over Airborne. Moreover, it is telling that

Plaintiff already filed a response to Airborne’s Motion to Dismiss without expressing any need to

engage in jurisdictional discovery prior to filing that response. As Plaintiff has already

responded, Plaintiff cannot possibly argue now that that any discovery, including the mandatory

initial disclosures, is necessary to respond to Airborne’s Motion to Dismiss.

E.     Granting a Stay Will Not Prejudice Plaintiff or Result in Any Other Harm

       A temporary stay of discovery pending a ruling on Airborne’s pending Motion to Dismiss

will not prejudice Plaintiff. See McCabe v. Foley, 233 F.R.D. 683, 687 (M.D. Fla. 2006) (holding

the Plaintiff would not be prejudiced by a temporary delay in discovery while the potentially



                                                7
Case 6:13-cv-01243-CEM-DAB Document 46 Filed 04/02/14 Page 8 of 9 PageID 602



case dispositive motions were decided, and therefore granting stay of discovery). Discovery in

this matter is not proposed to close until June 1, 2015, with a proposed trial date of December 1,

2015, which means that if necessary the parties will still have ample time to conduct discovery

after the Court rules on Airborne’s motion.

                                        CONCLUSION

       Thus, Airborne requests that this Court stay discovery pending a ruling on its pending

Motion to Dismiss Plaintiff’s Complaint.

                           LOCAL RULE 3.01(g) CERTIFICATION

       Counsel for Defendant Airborne certifies that a conference was held with Plaintiff’s

counsel regarding the relief requested herein and that Plaintiff’s counsel does not agree with the

relief requested herein.

                                              /s/ John P. O’Flanagan______
                                              John P. O’Flanagan
                                              Florida Bar No.: 0072885
                                              L. Robert Bourgeois
                                              Florida Bar No: 0781540
                                              Erica T. Healey
                                              Florida Bar No: 0086586
                                              BANKER LOPEZ GASSLER P.A.
                                              501 E. Kennedy Boulevard, Suite 1500
                                              Tampa, FL 33602
                                              Telephone No: (813) 221-1500
                                              Fax No:         (813) 222-3066
                                              Email: bbourgeois@bankerlopez.com
                                                      joflanagan@bankerlopez.com
                                                      ehealey@bankerlopez.com
                                                      Attorneys for DEFENDANT AIRBONE
                                                      INSURANCE CONSULTANTS, LTD.




                                                8
Case 6:13-cv-01243-CEM-DAB Document 46 Filed 04/02/14 Page 9 of 9 PageID 603



                               CERTIFICATE OF SERVICE

       I hereby certify that on April 2, 2014, I electronically filed the foregoing document with

the Clerk of Court using CM/ECF which will send notification of such filing(s) to Rosemary

Hayes, Esq., Attorney for Plaintiff. In addition, a true and accurate copy of the above and

foregoing has been furnished by U.S. Mail to Mohamed Diaoune, 1955 Henderson Way,

Lawrenceville, GA 30043, self-represented.

                                             /s/ John P. O’Flanagan______
                                             John P. O’Flanagan
                                             Florida Bar No.: 0072885
                                             L. Robert Bourgeois
                                             Florida Bar No: 0781540
                                             Erica T. Healey
                                             Florida Bar No: 0086586
                                             BANKER LOPEZ GASSLER P.A.
                                             501 E. Kennedy Boulevard, Suite 1500
                                             Tampa, FL 33602
                                             Telephone No: (813) 221-1500
                                             Fax No:         (813) 222-3066
                                             Email: bbourgeois@bankerlopez.com
                                                     joflanagan@bankerlopez.com
                                                     ehealey@bankerlopez.com
                                                     Attorneys for DEFENDANT AIRBORNE
                                                     INSURANCE CONSULTANTS, LTD.




                                               9
